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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 BIJU GEORGE,                                :   CIVIL ACTION NO. 1:18-CV-766
                                             :
                    Plaintiff                :   (Judge Conner)
                                             :
             v.                              :
                                             :
PENNSYLVANIA TURNPIKE                        :
COMMISSION,                                  :
                                             :
                    Defendant                :
                                             :

                                        ORDER

      AND NOW, this 21st day of April, 2022, upon consideration of plaintiff’s pro se

motion (Doc. 137) for an extension of time to file a notice of appeal pursuant to

Federal Rule of Appellate Procedure 4(a)(5), and further upon consideration of the

pending post-trial motions (Docs. 127, 129, 133), and the court observing that

Federal Rule of Appellate Procedure 4(a)(4)(A) establishes that the time to file an

appeal runs for all parties from the entry of the order disposing of the last

remaining post-trial motion, see FED. R. APP. P. 4(a)(4)(A) it is hereby ORDERED

that plaintiff’s motion (Doc. 137) for an extension of time to file a notice of appeal is

DENIED as moot and without prejudice.




                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
